                                                                      Case 2:19-cv-00985-APG-DJA Document 115 Filed 10/19/20 Page 1 of 2



                                                                  1    REID RUBINSTEIN & BOGATZ
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                                                                  7
                                                                                                   UNITED STATES DISTRICT COURT
                                                                  8
                                                                                                            DISTRICT OF NEVADA
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                                                                       BRIAN BORENSTEIN,                                     Case No.: 2:19-cv-00985-APG-DJA
                                                                 11
REID RUBINSTEIN & BOGATZ




                                                                                              Plaintiff,                       STIPULATION AND [PROPOSED]
                                                                 12           v.                                                ORDER TO EXTEND TIME FOR
                                                                                                                              DEFENDANT CARLY SCHOLTEN TO
                           (702) 776-7000 FAX: (702) 776-7900




                                                                 13    THE ANIMAL FOUNDATION, et al.,                         REPLY TO PLAINTIFF’S RESPONSE
                               300 South 4th Street, Suite 830
                                 Las Vegas, Nevada 89101




                                                                                                                                       [ECF NO. 107]
                                                                 14                           Defendants.                            [FIRST REQUEST]
                                                                 15

                                                                 16           IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff, BRIAN
                                                                 17    BORENSTEIN, and Defendant, CARLY SCHOLTEN, by and through their undersigned counsel,
                                                                 18    that Defendant Ms. Scholten may have additional time within which to file her reply to Plaintiff’s
                                                                 19    Opposition [ECF No. 107] to her Motion to Dismiss [ECF No. 89].
                                                                 20           Plaintiff’s Opposition was filed on October 9, 2020. Defense counsel has requested an
                                                                 21    additional week to prepare Ms. Scholten’s reply, which counsel for Plaintiff’s has graciously
                                                                 22    agreed to. Therefore, the parties hereby stipulate that the last day for Ms. Scholten to reply to
                                                                 23    Plaintiff’s Opposition is extended from Friday, October 16, 2020 to Friday, October 23, 2020.
                                                                 24           This request is made in good faith and not for the purpose of undue delay. This document
                                                                 25    is being electronically filed through the Court’s CM/ECF System. Accordingly, counsel for
                                                                 26    Defendants hereby attests that (1) the content of this document is acceptable to all persons required
                                                                 27    to sign the document; (2) Plaintiff’s counsel has concurred with the filing of this document and
                                                                 28    has authorized defense counsel to affix his electronic signature hereto; and (3) a record supporting
                                                                                                                   Page 1 of 2
                                                                      Case 2:19-cv-00985-APG-DJA Document 115 Filed 10/19/20 Page 2 of 2



                                                                  1    this concurrence could be made available if so ordered by this Court.

                                                                  2           Dated this 16th day of October, 2020.

                                                                  3

                                                                  4    Respectfully submitted,
                                                                  5

                                                                  6     REID RUBINSTEIN & BOGATZ                      THE PALMER LAW FIRM, P.C.
                                                                  7

                                                                  8     By:    /s/ Kerry E. Kleiman, Esq.             By:   /s/ Robert S. Melcic, Esq.
                                                                           I. Scott Bogatz, Esq. (3367)                  Raelene K. Palmer, Esq. (8602)
                                                                  9        Kerry E. Kleiman, Esq. (14071)                5550 Painted Mirage Road, Suite 320
                                                                           REID RUBINSTEIN & BOGATZ                      Las Vegas, Nevada 89149
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                                                                           Las Vegas, Nevada 89101                        Robert S. Melcic, Esq. (14923)
                                                                 11        Attorneys for Defendants The Animal            4930 Mar Vista Way
REID RUBINSTEIN & BOGATZ




                                                                           Foundation & Carly Scholten, COO               Las Vegas, NV 89121
                                                                 12                                                       Attorneys for Plaintiff
                           (702) 776-7000 FAX: (702) 776-7900




                                                                 13
                               300 South 4th Street, Suite 830
                                 Las Vegas, Nevada 89101




                                                                 14

                                                                 15

                                                                 16                                                ORDER

                                                                 17           IT IS SO ORDERED.

                                                                 18

                                                                 19                         19th
                                                                              DATED this ___________          October
                                                                                                     day of _________________, 2020.

                                                                 20
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                                                                                                                    ____________________________________
                                                                 22                                                 UNITED STATES DISTRICT JUDGE
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